Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 1 of 29
Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 2 of 29
Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 3 of 29
Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 4 of 29
Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 5 of 29




         Exhibit 1
Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 6 of 29




                        Teammate
                          Policies               Effective January 1, 2020




                                                                   TRC 000001
              Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 7 of 29




                  Teammate Policies   Effective January 1, 2020




                                          OUR MISSION
                         To be the Provider, Partner and Employer of Choice


                                       OUR CORE VALUES
                      Service Excellence, Integrity, Team, Continuous Improvement,
                                     Accountability, Fulfillment, Fun




       This manual will be updated periodically. Please refer to the electronic copy, found on the
People Services Page, for the most updated policy revision. For any proposed policy changes or additions,
                              please email TeammatePolicies@davita.com.


                                                                                                 TRC 000003
             Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 8 of 29


    IMPORTANT
    THE TEAMMATE POLICIES ARE DESIGNED TO ACQUAINT TEAMMATES WITH DAVITA INC.
    AND PROVIDE SOME INFORMATION ABOUT WORKING AT DAVITA. THESE POLICIES ARE
    NOT ALL-INCLUSIVE, BUT ARE INTENDED TO PROVIDE A SUMMARY OF SOME OF DAVITA’S
    POLICIES. THIS EDITION REPLACES THE TEAMMATE GUIDELINES AND ALL PREVIOUSLY
    ISSUED EDITIONS.

    EMPLOYMENT WITH DAVITA IS AT-WILL. JUST AS ALL TEAMMATES HAVE THE RIGHT TO
    END THEIR WORK RELATIONSHIP WITH DAVITA, WITH OR WITHOUT NOTICE, AND WITH
    OR WITHOUT CAUSE, SO TOO DOES DAVITA HAVE THE SAME RIGHT. THE LANGUAGE
    USED IN THESE POLICIES AND ANY VERBAL STATEMENTS MADE BY MANAGEMENT ARE
    NOT INTENDED TO CONSTITUTE A CONTRACT OF EMPLOYMENT, EITHER EXPRESSED OR
    IMPLIED, AND THEY ARE NOT A GUARANTEE OF EMPLOYMENT FOR A SPECIFIC DURATION
    OR ANY CHANGE TO DAVITA’S POLICY OF AT-WILL EMPLOYMENT. THE POLICY OF AT-WILL
    EMPLOYMENT CAN ONLY BE MODIFIED IN WRITING, SIGNED BY A SENIOR EXECUTIVE
    OFFICER OF THE COMPANY.
    THE TEAMMATE POLICIES HAVE BEEN PROVIDED TO OFFER GUIDANCE IN HANDLING
    MANY ISSUES, BUT THE POLICIES ALSO ALLOW FOR LATITUDE IN THEIR APPLICATION TO
    INDIVIDUAL CIRCUMSTANCES OR AS THE NEEDS OF OUR BUSINESS MAY WARRANT. EXCEPT
    FOR THE POLICY OF AT-WILL EMPLOYMENT, ANY POLICY MAY BE CANCELED OR MODIFIED
    AT ANY TIME, AT DAVITA’S SOLE DISCRETION, WITH OR WITHOUT PRIOR NOTICE.

    DAVITA COMPLIES WITH ALL APPLICABLE LAWS, INCLUDING ALL FEDERAL, STATE AND
    LOCAL EMPLOYMENT-RELATED LAWS AND REGULATIONS. THESE POLICIES ARE INTENDED
    TO FULLY COMPLY WITH ALL APPLICABLE LAWS AND REGULATIONS, AND THEY WILL BE
    INTERPRETED AND APPLIED IN ACCORDANCE WITH APPLICABLE LAWS AND REGULATIONS.
    IF ANY OF THE POLICIES CONTAINED HEREIN INADVERTENTLY CONFLICT WITH APPLICABLE
    LAWS OR REGULATIONS, THOSE LAWS AND REGULATIONS WILL PREVAIL OVER THE
    AFFECTED TEAMMATE POLICY.
    THESE TEAMMATE POLICIES APPLY TO ALL DAVITA TEAMMATES WITHIN THE UNITED
    STATES. THEY DO NOT APPLY TO TEAMMATES WHO ARE EMPLOYED OUTSIDE OF THE
    UNITED STATES, FOR WHOM DIFFERENT GUIDELINES AND POLICIES, DEPENDING ON THEIR
    LOCATION, MAY APPLY.

    AS A CONDITION OF EMPLOYMENT, ALL TEAMMATES MUST ATTEST TO READING
    AND BEING BOUND BY THE TEAMMATE POLICIES ANNUALLY. FAILURE TO COMPLY
    WITH DAVITA’S POLICIES MAY RESULT IN DISCIPLINARY ACTION, UP TO AND
    INCLUDING TERMINATION.




8
                                                                   DAVITA TEAMMATE POLICIES
Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 9 of 29




         Exhibit 2
               Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 10 of 29




compensable as he or she is generally free to        record such time via time stamps in the
pursue personal activities.                          timekeeping system.

REQUIREMENTS OF ASSIGNMENT
 • Teammates will be physically and mentally      4.11 Pay Transparency
   fit for duty in accordance with their          DaVita will not discharge or in any other
   respective professional licenses.              manner discriminate against teammates
 • Teammates designated as subject-to-call        or applicants because they have inquired
   have the ability to trade assignments, with    about, discussed or disclosed their own pay
   the approval of their supervisor.              or the pay of another teammate or applicant.
                                                  However, teammates who have access to the
 • Teammates shall refrain from drinking          compensation information of other teammates
   alcohol or the use of drugs that are illegal
                                                  or applicants as a part of their essential job
   under federal law.
                                                  functions cannot disclose the pay of other
 • Teammates shall be reachable, but they         teammates or applicants to individuals who do
   have no geographic restriction on location     not otherwise have access to compensation
   during the subject-to-call period.             information, unless the disclosure is (1) in
                                                  response to a formal complaint or charge, (2)
 • Teammates need to be able to respond
   to the incoming call within 15 minutes of      in furtherance of an investigation, proceeding,
   receiving the call; however, this is not the   hearing, or action, including an investigation
   time frame in which the teammate needs to      conducted by DaVita, or (3) consistent with
   report to their assignment.                    DaVita’s legal duty to furnish information.

 • Teammates must provide contact                 4.12 Disaster Relief Policy
   information where they are reachable,
   but this can be a cell phone or another        The Disaster Relief Policy provides for pay
   mobile device.                                 continuance during an emergency time
                                                  frame when a declared emergency or natural
COMPENSATION                                      disaster prevents teammates from performing
 • Although not legally obligated to do so,       their regular duties. A declared emergency
   DaVita may choose to provide these             or natural disaster shall be proclaimed by
   subject-to-call teammates with a lump-sum      either the President of the United States, a
   payment for taking on this responsibility.
                                                  state Governor or other elected official, or
   When a lump-sum payment is provided, it
                                                  if local leadership (DVP/Palmer) deems it
   will be a flate-rate payment—not an hourly
                                                  appropriate. In the event of a state or federally
   rate—and may differ depending on the day
   of the week and market/location.               declared natural disaster, this policy provides
                                                  information relative to pay practices, work
 • Any work and/or phone call in which the        schedules, and facility or business office
   teammate participates while in a subject-
                                                  coverage. This policy supersedes and replaces
   to-call status is compensable in accordance
                                                  any past practice or policy relating to pay
   with state law, and the teammate shall
                                                  practices, work schedules, and facility coverage

                                                                                                      49
EFFECTIVE JANUARY 1, 2020
                 Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 11 of 29
                  SECTION 4: Pay Practices




     in the event of a declared emergency or natural      should utilize PTO in accordance with the
     disaster.                                            regular PTO Policy.
     The language used in this policy is not              If a designated facility or business office
     intended to constitute a contract of                 is open during the emergency time frame,
     employment, either express or implied, to give       teammates who report to their location
     teammates any additional rights to continued         and work their scheduled hours will be paid
     employment, pay or benefits, or to otherwise         premium pay for all hours worked. Unless state
     change DaVita’s policy of at-will employment.        law requires otherwise, premium pay will be
                                                          one-and-one-half (1.5) times the teammate’s
     EMERGENCY TIME FRAME                                 base rate of pay.
     The emergency time frame (and affected
     facility or business office) will be identified on   Non-exempt traveling teammates, as part of
     a case-by-case basis by local leadership (DVP,       the Disaster Volunteer Group, who provide
     GVP and PSD) and the Disaster Governance             shift coverage at sites assigned by local
     Council, dependent on the severity of the            Leadership will be paid a 50 percent premium
     disaster and location.                               for all compensable straight time hours,
                                                          including travel time.
     PAY PRACTICE FOR NON-EXEMPT                          If a designated facility or business office is
     TEAMMATES
                                                          open during the emergency time frame and
     If a facility or business office is closed due to    teammates are unable to work, teammates
     a declared emergency or natural disaster as          should utilize PTO in accordance with the
     defined above, non-exempt teammates will             PTO policy.
     be paid for their regularly scheduled hours at
     their base rate of pay during the designated         Non-exempt teammates who are unable
     emergency time frame.                                to report to their facility or business office
                                                          should not perform any work remotely unless
     If a facility or business office opens late or       approved by a supervisor. If any work is done
     closes early due to a declared emergency             remotely, teammates must report time worked
     or natural disaster as defined above,                via time stamps in the timekeeping system and
     teammates will be notified promptly of the           will be paid accordingly.
     approved opening or closing time. Non-
     exempt teammates who arrive or leave at
     that approved opening or closing time will be
     paid their hourly rate of pay for their regularly
     scheduled hours, unless state law provides
     otherwise. Any non-exempt teammate who
     arrives at work after the approved opening
     time or leaves work before the approved
     closing time will be paid only for the time
     actually worked, in which case, the teammate



50
                                                                                  DAVITA TEAMMATE POLICIES
Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 12 of 29




         Exhibit 3
               Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 13 of 29




From: Village Communications <Communications@davita.com>
Sent: Friday, March 27, 2020 7:16 PM
To: Village Communications <Communications@davita.com>
Subject: Daily All Teammate COVID‐19 Update




    To:     All U.S. DKC Teammates

    From: Dr. Jeff Giullian, Chief Medical Officer
             Mike Staffieri, Chief Operating Officer


                              March 27: Update on COVID-19

    Thank you for the work you are doing to help keep each other, and our patients,
    safe and healthy. Please reach out with any additional support you may need. You
    can continue to find information on COVID-19 on the VillageWeb page and send
    questions to covid19questions@davita.com.




    Here’s what you need to know as of March 27:

    All Teammates


                                                       1

                                                                                       TRC 000149
           Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 14 of 29

      We understand that some teammates have raised questions about the
       application of DaVita’s Disaster Relief Policy (section 4.12 in DaVita’s
       Teammate Policies Handbook) to the current COVID-19 pandemic. To learn
       more about this issue, click here.


Field Teammates
      New PPE Job Aid: Please see our How to Put on and Remove PPE Job
       Aid for facilities treating patients positive for COVID-19 or symptomatic
       PUIs.
      Please see this Job Aid, which explains best practices for how teammates
       can store their surgical masks while eating during breaks.
      Check out this video of Dr. Giullian, our Chief Medical Officer, discussing
       PPE.
      Check out this video of Mandy Hale, our VP of Nursing, discussing why we
       are essential teammates
      Dietitians and Social Workers: We have new job aids on treating PUIs and
       patients positive for COVID-19 in cohorts.
          o    Dietitian Job Aid
          o    Social Worker Job Aid


Home Teammates
      We shared ASDIN’s statement on access procedures being considered
       essential with our physicians, available here. Also, check out CMS’s recent
       guidance on the topic.


IKC Teammates
      We have updated our FAQs.


Business Office Teammates
      We have new guidance on printing from home, found here.


Village Support
      Resources to Help Me, My Family, My Team
      Send an encouraging eCard through Gateway
      Want to help? Consider donating to DaVita Village Network here or
       donating PTO here to support impacted teammates and their families
      Share your #DaVitaWay photos and stories at
       covid19questions@davita.com


For more information, visit the COVID-19 VillageWeb page.

Questions? Email COVID19questions@davita.com.

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                                                                                     TRC 000150
                   Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 15 of 29
     One for All!




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CONFIDENTIALITY NOTICE: THIS MESSAGE IS CONFIDENTIAL, INTENDED FOR THE NAMED RECIPIENT(S) AND MAY
CONTAIN INFORMATION THAT IS (I) PROPRIETARY TO THE SENDER, AND/OR, (II) PRIVILEGED, CONFIDENTIAL, AND/OR
OTHERWISE EXEMPT FROM DISCLOSURE UNDER APPLICABLE STATE AND FEDERAL LAW, INCLUDING, BUT NOT LIMITED
TO, PRIVACY STANDARDS IMPOSED PURSUANT TO THE FEDERAL HEALTH INSURANCE PORTABILITY AND
ACCOUNTABILITY ACT OF 1996 ("HIPAA"). IF YOU ARE NOT THE INTENDED RECIPIENT, OR THE EMPLOYEE OR AGENT
RESPONSIBLE FOR DELIVERING THE MESSAGE TO THE INTENDED RECIPIENT, YOU ARE HEREBY NOTIFIED THAT ANY
DISSEMINATION, DISTRIBUTION OR COPYING OF THIS COMMUNICATION IS STRICTLY PROHIBITED. IF YOU HAVE
RECEIVED THIS TRANSMISSION IN ERROR, PLEASE (I) NOTIFY US IMMEDIATELY BY REPLY E‐MAIL OR BY TELEPHONE AT
(855.472.9822), (II) REMOVE IT FROM YOUR SYSTEM, AND (III) DESTROY THE ORIGINAL TRANSMISSION AND ITS
ATTACHMENTS WITHOUT READING OR SAVING THEM. THANK YOU.

‐DaVita Inc‐




                                                                    3

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        Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 16 of 29




Teammate Policies Section 4.12 (Disaster Relief Policy)

We understand that some teammates have raised questions about the application of DaVita’s
Disaster Relief Policy (section 4.12 in DaVita’s Teammate Policies Handbook) to the current
COVID-19 pandemic. The Disaster Relief Policy was created to support DaVita’s teammates in
situations where declared emergencies or natural disasters prevent our facilities from operating
or prevent teammates from working, with a goal of ensuring that DaVita can continue to operate
despite the destruction of the disaster. As explained in the first sentence of the policy, it applies
“during an emergency time frame when a declared emergency or natural disaster prevents
teammates from performing their regular duties.”

DaVita provides life-sustaining care to our patients, and it is critical that we continue to do so
even during difficult situations like the COVID-19 pandemic. Although we’re operating in a
changing environment, at this point the COVID-19 pandemic has not created a situation where
teammates are prevented from performing their regular duties. Our facilities remain open, and
our teammates are continuing to work and treat patients. Indeed, our facilities and even our
central business offices are exempted from any of the state provisions because we are an
essential healthcare service. In these circumstances, the special pay rules described in the policy
do not apply. In addition, the policy doesn’t apply because there has been no emergency time-
frame or specific emergency-affected facilities identified by local leadership (DVP, GVP and
PSD), as required by the terms of the existing Policy. Under the existing Policy, it’s not just the
declaration of an emergency by the President or a State that triggers application of the Policy;
local leadership and the Disaster Governance Council also must decide that the policy applies
during a certain time frame and to certain facilities or offices. That has not happened here.

However, to address questions about the application of the Disaster Relief Policy to the COVID-
19 crisis, and consistent with the statement in the Teammate Policies that “any policy may be
canceled or modified at any time, at DaVita’s sole discretion, with or without prior notice,” we
are adding the following language explaining how the Policy operates in these particular
circumstances:
           COVID-19 CRISIS
           The Disaster Relief Policy does not apply to the COVID-19 crisis. The
           Disaster Relief Policy applies only when teammates are unable to
           perform their regular duties. The policy is effective upon a decision by
           local leadership and the Disaster Governance Council that a declared
           emergency or natural disaster prevents our facilities from operating or
           prevents our teammates from working. Under the COVID-19 crisis,
           our teammates are able to work and are essential in either in a
           supporting role for our health care workers or in actually providing
           healthcare services to patients.

We recognize that the pandemic has made our teammates’ work more difficult and complex, and
we are providing extra support to them in a number of ways. The safety and well-being of our
teammates and patients is our top priority, and we will continue to evaluate the steps we are
taking to care for our teammates and patients throughout this pandemic.
                Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 17 of 29




4.12 Disaster Relief Policy
The Disaster Relief Policy provides for pay continuance during an emergency time frame when a declared
emergency or natural disaster prevents teammates from performing their regular duties. A declared
emergency or natural disaster shall be proclaimed by either the President of the United States, a state
Governor or other elected official, or if local leadership (DVP/Palmer) deems it appropriate. In the event of a
state or federally declared natural disaster, this policy provides information relative to pay practices, work
schedules, and facility or business office coverage. This policy supersedes and replaces any past practice or
policy relating to pay practices, work schedules, and facility coverage in the event of a declared emergency or
natural disaster.

The language used in this policy is not intended to constitute a contract of employment, either express or
implied, to give teammates any additional rights to continued employment, pay or benefits, or to otherwise
change DaVita’s policy of at-will employment.

COVID-19 CRISIS
The Disaster Relief Policy does not apply to the COVID-19 crisis. The Disaster Relief Policy applies only when
teammates are unable to perform their regular duties. The policy is effective upon a decision by local
leadership and the Disaster Governance Council that a declared emergency or natural disaster prevents our
facilities from operating or prevents our teammates from working. Under the COVID-19 crisis, our teammates
are able to work and are essential in either in a supporti ng role for our health care workers or in actually
providing healthcare services to patients.

Emergency Time Frame
The emergency time frame (and affected facility or business office) will be identified on a case-by-case basis
by local leadership (DVP, GVP and PSD) and the Disaster Governance Council, dependent on the severity of the
disaster and location.

Pay Practice for Non-Exempt Teammates
If a facility or business office is closed due to a declared emergency or natural disaster as defined above, non -
exempt teammates will be paid for their regularly scheduled hours at their base rate of pay during the
designated emergency time frame.

If a facility or business office opens late or closes early due to a declared emergency or natural disaster as
defined above, teammates will be notified promptly of the approved opening or closing time. Non -exempt
teammates who arrive or leave at that approved opening or closing time will be paid their hourly rate of pay
for their regularly scheduled hours, unless state law provides otherwise. Any non-exempt teammate who
arrives at work after the approved opening time or leaves work before the approved closing time will be paid
only for the time actually worked, in which case, the teammate should utilize PTO in accordance with the
regular PTO Policy.

If a designated facility or business office is open during the emergency time frame, teammates who report to
their location and work their scheduled hours will be paid premium pay for all hours worked. Unless state law




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               Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 18 of 29




requires otherwise, premium pay will be one-and-one-half (1.5) times the teammate’s base rate of pay.

Non-exempt traveling teammates, as part of the Disaster Volunteer Group, who provide shift coverage at sites
assigned by local Leadership will be paid a 50% premium for all compensable straight time hours including
travel time.

If a designated facility or business office is open during the emergency time frame and teammates are unable
to work, teammates should utilize PTO in accordance with the PTO policy.

Non-exempt teammates who are unable to report to their facility or business office should not perform any
work remotely unless approved by a supervisor. If any work is done remotely, teammates must report time
worked via time stamps in the timekeeping system and will be paid accordingly.




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Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 19 of 29




          Exhibit 4
  Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 20 of 29




                   This is to certify that:

                       JJ Hesketh

                has successfully completed
PS1009F: 2020 Teammate Policies Update on 1/8/2020
Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 21 of 29
Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 22 of 29
Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 23 of 29




         Exhibit 5
Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 24 of 29




                         Teammate
                           Policies               Effective August 19, 2020




                                                                    TRC 000155
              Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 25 of 29




                  Teammate Policies   Effective August 19, 2020




                                          OUR MISSION
                         To be the Provider, Partner and Employer of Choice


                                       OUR CORE VALUES
                      Service Excellence, Integrity, Team, Continuous Improvement,
                                     Accountability, Fulfillment, Fun




       This manual will be updated periodically. Please refer to the electronic copy, found on the
People Services Page, for the most updated policy revision. For any proposed policy changes or additions,
                              please email TeammatePolicies@davita.com.


                                                                                                 TRC 000157
            Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 26 of 29
    IMPORTANT
    THE TEAMMATE POLICIES ARE DESIGNED TO ACQUAINT TEAMMATES WITH DAVITA INC.
    AND PROVIDE SOME INFORMATION ABOUT WORKING AT DAVITA. THESE POLICIES ARE
    NOT ALL-INCLUSIVE, BUT ARE INTENDED TO PROVIDE A SUMMARY OF SOME OF DAVITA’S
    POLICIES. THIS EDITION REPLACES THE TEAMMATE GUIDELINES AND ALL PREVIOUSLY
    ISSUED EDITIONS.

    EMPLOYMENT WITH DAVITA IS AT-WILL. JUST AS ALL TEAMMATES HAVE THE RIGHT TO
    END THEIR WORK RELATIONSHIP WITH DAVITA, WITH OR WITHOUT NOTICE, AND WITH
    OR WITHOUT CAUSE, SO TOO DOES DAVITA HAVE THE SAME RIGHT. THE LANGUAGE
    USED IN THESE POLICIES AND ANY VERBAL STATEMENTS MADE BY MANAGEMENT ARE
    NOT INTENDED TO CONSTITUTE A CONTRACT OF EMPLOYMENT, EITHER EXPRESSED OR
    IMPLIED, AND THEY ARE NOT A GUARANTEE OF EMPLOYMENT FOR A SPECIFIC DURATION
    OR ANY CHANGE TO DAVITA’S POLICY OF AT-WILL EMPLOYMENT. THE POLICY OF AT-WILL
    EMPLOYMENT CAN ONLY BE MODIFIED IN WRITING, SIGNED BY A SENIOR EXECUTIVE
    OFFICER OF THE COMPANY.
    THE TEAMMATE POLICIES HAVE BEEN PROVIDED TO OFFER GUIDANCE IN HANDLING
    MANY ISSUES, BUT THE POLICIES ALSO ALLOW FOR LATITUDE IN THEIR APPLICATION TO
    INDIVIDUAL CIRCUMSTANCES OR AS THE NEEDS OF OUR BUSINESS MAY WARRANT. EXCEPT
    FOR THE POLICY OF AT-WILL EMPLOYMENT, ANY POLICY MAY BE CANCELED OR MODIFIED
    AT ANY TIME, AT DAVITA’S SOLE DISCRETION, WITH OR WITHOUT PRIOR NOTICE.

    DAVITA COMPLIES WITH ALL APPLICABLE LAWS, INCLUDING ALL FEDERAL, STATE AND
    LOCAL EMPLOYMENT-RELATED LAWS AND REGULATIONS. THESE POLICIES ARE INTENDED
    TO FULLY COMPLY WITH ALL APPLICABLE LAWS AND REGULATIONS, AND THEY WILL BE
    INTERPRETED AND APPLIED IN ACCORDANCE WITH APPLICABLE LAWS AND REGULATIONS.
    IF ANY OF THE POLICIES CONTAINED HEREIN INADVERTENTLY CONFLICT WITH APPLICABLE
    LAWS OR REGULATIONS, THOSE LAWS AND REGULATIONS WILL PREVAIL OVER THE
    AFFECTED TEAMMATE POLICY.

    THESE TEAMMATE POLICIES APPLY TO ALL DAVITA TEAMMATES WITHIN THE UNITED
    STATES. THEY DO NOT APPLY TO TEAMMATES WHO ARE EMPLOYED OUTSIDE OF THE
    UNITED STATES, FOR WHOM DIFFERENT GUIDELINES AND POLICIES, DEPENDING ON THEIR
    LOCATION, MAY APPLY.

    AS A CONDITION OF EMPLOYMENT, ALL TEAMMATES MUST ATTEST TO READING
    AND BEING BOUND BY THE TEAMMATE POLICIES ANNUALLY. FAILURE TO COMPLY
    WITH DAVITA’S POLICIES MAY RESULT IN DISCIPLINARY ACTION, UP TO AND
    INCLUDING TERMINATION.




8
                                                                   DAVITA TEAMMATE POLICIES

                                                                               TRC 000162
                  Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 27 of 29




DaVita will not discriminate against any            COMPENSATION
nursing mother taking reasonable breaks to           • Although not legally obligated to do so,
express milk for her child and will comply             DaVita may choose to provide these
with all applicable federal, state and local laws      subject-to-call teammates with a lump-sum
regarding nursing mothers.                             payment for taking on this responsibility.
                                                       When a lump-sum payment is provided, it
4.10 Subject-to-Call                                   will be a flate-rate payment—not an hourly
                                                       rate—and may differ depending on the day
DaVita clinical non-exempt teammates may be            of the week and market/location.
scheduled as “subject-to-call.” In this status,
                                                     • Any work and/or phone call in which the
a teammate is available by phone to provide
                                                       teammate participates while in a subject-
assistance or report to work if the need               to-call status is compensable in accordance
arises; however, the teammate’s time is not            with state law, and the teammate shall
compensable as he or she is generally free to          record such time via time stamps in the
pursue personal activities.                            timekeeping system.

REQUIREMENTS OF ASSIGNMENT
 • Teammates will be physically and mentally        4.11 Pay Transparency
   fit for duty in accordance with their            DaVita will not discharge or in any other
   respective professional licenses.                manner discriminate against teammates
 • Teammates designated as subject-to-call          or applicants because they have inquired
   have the ability to trade assignments, with      about, discussed or disclosed their own pay
   the approval of their supervisor.                or the pay of another teammate or applicant.
                                                    However, teammates who have access to the
 • Teammates shall refrain from drinking
                                                    compensation information of other teammates
   alcohol or the use of drugs that are illegal
                                                    or applicants as a part of their essential job
   under federal law.
                                                    functions cannot disclose the pay of other
 • Teammates shall be reachable, but they           teammates or applicants to individuals who do
   have no geographic restriction on location       not otherwise have access to compensation
   during the subject-to-call period.               information, unless the disclosure is (1) in
                                                    response to a formal complaint or charge, (2)
 • Teammates need to be able to respond
   to the incoming call within 15 minutes of        in furtherance of an investigation, proceeding,
   receiving the call; however, this is not the     hearing, or action, including an investigation
   time frame in which the teammate needs to        conducted by DaVita, or (3) consistent with
   report to their assignment.                      DaVita’s legal duty to furnish information.

 • Teammates must provide contact
                                                    4.12 Disaster Relief Policy
   information where they are reachable,
   but this can be a cell phone or another          The Disaster Relief Policy provides for pay
   mobile device.                                   continuance during an emergency time
                                                    frame when a declared emergency or natural


                                                                                                      49
EFFECTIVE AUGUST 19, 2020
                                                                                               TRC 000203
               Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 28 of 29
                   SECTION 4:   Pay Practices


     disaster prevents teammates from performing         The emergency time frame (and affected
     their regular duties. A declared emergency          facility or business office) will be identified on
     or natural disaster shall be proclaimed by          a case-by-case basis by local leadership (DVP,
     either the President of the United States, a        GVP and PSD) and the Disaster Governance
     state Governor or other elected official, or        Council, dependent on the severity of the
     if local leadership (DVP/Palmer) deems it           disaster and location.
     appropriate. In the event of a state or federally
     declared natural disaster, this policy provides     PAY PRACTICE FOR NON-EXEMPT
     information relative to pay practices, work         TEAMMATES
     schedules, and facility or business office          If a facility or business office is closed due to
     coverage. This policy supersedes and replaces       a declared emergency or natural disaster as
     any past practice or policy relating to pay         defined above, non-exempt teammates will
     practices, work schedules, and facility coverage    be paid for their regularly scheduled hours at
     in the event of a declared emergency or             their base rate of pay during the designated
     natural disaster.                                   emergency time frame.
     The language used in this policy is not             If a facility or business office opens late or
     intended to constitute a contract of                closes early due to a declared emergency
     employment, either express or implied, to give      or natural disaster as defined above,
     teammates any additional rights to continued        teammates will be notified promptly of the
     employment, pay or benefits, or to otherwise        approved opening or closing time. Non-
     change DaVita’s policy of at-will employment.       exempt teammates who arrive or leave at
                                                         that approved opening or closing time will be
     COVID-19 CRISIS                                     paid their hourly rate of pay for their regularly
     The Disaster Relief Policy does not apply           scheduled hours, unless state law provides
     to the COVID-19 crisis. The Disaster Relief         otherwise. Any non-exempt teammate who
     Policy applies only when teammates are              arrives at work after the approved opening
     unable to perform their regular duties. The         time or leaves work before the approved
     policy is effective upon a decision by local        closing time will be paid only for the time
     leadership and the Disaster Governance              actually worked, in which case, the teammate
     Council that a declared emergency or natural        should utilize PTO in accordance with the
     disaster prevents our facilities from operating     regular PTO Policy.
     or prevents our teammates from working.
                                                         If a designated facility or business office
     Under the COVID-19 crisis, our teammates
                                                         is open during the emergency time frame,
     are able to work and are essential in either in
                                                         teammates who report to their location
     a supporting role for our health care workers
                                                         and work their scheduled hours will be paid
     or in actually providing healthcare services
                                                         premium pay for all hours worked. Unless state
     to patients.
                                                         law requires otherwise, premium pay will be
     EMERGENCY TIME FRAME                                one-and-one-half (1.5) times the teammate’s
                                                         base rate of pay.


50
                                                                                 DAVITA TEAMMATE POLICIES
                                                                                                  TRC 000204
                  Case 2:20-cv-01733-JLR Document 42 Filed 05/26/21 Page 29 of 29




Non-exempt traveling teammates, as part of       should not perform any work remotely unless
the Disaster Volunteer Group, who provide        approved by a supervisor. If any work is done
shift coverage at sites assigned by local        remotely, teammates must report time worked
Leadership will be paid a 50 percent premium     via time stamps in the timekeeping system and
for all compensable straight time hours,         will be paid accordingly.
including travel time.
If a designated facility or business office is
open during the emergency time frame and
teammates are unable to work, teammates
should utilize PTO in accordance with the
PTO policy.

Non-exempt teammates who are unable
to report to their facility or business office




                                                                                                 51
EFFECTIVE AUGUST 19, 2020
                                                                                          TRC 000205
